              Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.1 Page 1 of 8
AO 106 (Rev. 04/10) Application for a Search Warrant
                                                                                                             s,_ . ,     ,_,,:m
                                                                                                             ~    ii 2:.,,. ~- (!,-.#
                                      UNITED STATES DISTRICT COUR'
                                                                     for the
                                                         Southern District of California
                                                                                                                 NOV 2 0      20197
              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )           Case No.
                 Samsung Galaxy S6 Edge                                 )
                  IMEI : 359718060762311                                )
                 FP&P : 2020250600122301                                )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A.
located in the             Southern               District of               California           , there is now concealed (identify the
person or describe the property to be seized) :

 See Attachment B.

          The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                 ii evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                           Offense Description

        21 U.S.C. §§ 952, 960                      Importation of Methamphetamine and Heroin

          The application is based on these facts :
        See attached affidavit of HSI Special Agent Zachary Bulman

           ii Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached~


                                                                     <:::         ~             Applicant 's signature

                                                                                         Zachary Bulman, HSI Special Agent
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:        ,, /-a..o    j}_ ,
                                                                             ~                            ,;g,oW,e

City and state: San Diego, California                                        Hon. Bernard G. Skomal, United States Magistrate Judge
                                                                                                Printed name and title
        Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.2 Page 2 of 8




 1                                           AFFIDAVIT
 2         I, Special Agent Zachary Bulman, being duly sworn, hereby state as follows:
 3                                       INTRODUCTION
 4 II      l.     I submit this affidavit in support of an application for a warrant to search the
 5 II following electronic device(s):
 6
                     a. Samsung Galaxy S6 Edge
 7                      IMEI: 359718060762311
                        FP&P: 2020250600122301
 8
                        (Target Device)
 9
10 II as further described in Attachment A, and to seize evidence of crimes, specifically
11 II violations of Title 21, United States Code, Section(s) 952 and 960, as further described in
1211 Attachment B.
13 II      2.     The requested warrant relates to the investigation and prosecution of Anabel
1411 BRAMBILA-Ortiz for importing approximately 24.52 kilograms ofmethamphetamine and
15 113.18 kilograms of heroin from Mexico into the United States. See US. v. Brambila-Ortiz,
16 II Case No. 19-cr-4320 (S.D. Cal.) at ECF No. 1 (Complaint). The Target Device is currently
17 II in the evidence vault located at 2255 Niels Bohr Court, San Diego, California, 92154.
18         3.     The information contained in this affidavit is based upon my training,
19 II experience, investigation, and consultation with other members of law enforcement.
20 II Because this affidavit is made for the limited purpose of obtaining a search warrant for the
21 II Target Device, it does not contain all the information known by me or other agents
22 II regarding this investigation. All dates and times described are approximate.
23                                        BACKGROUND
24 II      4.     I have been employed as a Special Agent with Homeland Security
25 II Investigations (HSI) since August 2008. I am currently assigned to the HSI Office of the
26 II Deputy Special Agent in Charge, in San Ysidro, California. I am a graduate of the Federal
27 II Law Enforcement Training Center in Glynco, Georgia. As a Special Agent for HSI, I am
28 II responsible for investigating laws enumerated in Title 8, Title 18, and Title 21 of the United

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        Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.3 Page 3 of 8




 1 II States Code. Included in my responsibilities is the investigation of illicit contraband-
 2 II smuggling, including narcotics-smuggling, across the United States border. I am currently
 3 II assigned to a Narcotics Group which primarily investigates violations of the United States
 411 Code that stem from the United States/Mexico International Border. During my
 5 II assignment, I participated in the investigation of various drug-trafficking organizations
 6 II involved in the acquisition, importation, transportation, and distribution of controlled
 7 II substances into and through the Southern District of California. Because the nature of my
 8 II ongoing work requires me to keep apprised of recent trends and developments involved in
 9 II the investigations of drug traffickers, I regularly communicate with agents from the Drug
1O II Enforcement Administration (DEA), Customs and Border Protection (CBP), and other
11 II local and state law enforcement officers operating within the Southern District of
12 II California. During my tenure with HSI, I have participated in the investigation of various
13 II drug trafficking organizations involved in the importation and distribution of controlled
1411 substances into and through the Southern District of California.
15 II      5.    I have training and experience in multiple investigative areas, including
16 II training specifically focused on controlled substances and the smuggling and sales of
17 II controlled substances. I have been cross-designated by DEA to conduct narcotics
18 II investigations and enforce provisions of the Federal Controlled Substances Act, pursuant
19 II to Title 21 of the United States Code. I was assigned to a border narcotics investigative
20 II group from September of 2011 to February of 2016. The border narcotics investigative
21 II group in which I was assigned focused specifically on the investigation of controlled
22 II substances being smuggled into the United States.
23 II      6.    Prior to becoming a Special Agent with HSI, I was employed as a Police
24 II Officer with the Fairfax County Police Department in Fairfax, Virginia for six and a half
25 II years. I graduated from a POST-certified police academy in June of 2002 where I learned
26 about the use and identification of various controlled substances.
27         7.    Through my training, experience, and conversations with other members of
28 II law enforcement, I have gained a working knowledge of the operational habits of narcotics

                                                2
        Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.4 Page 4 of 8




 1 II traffickers, in particular those who attempt to import narcotics into the United States from
 2 II Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
 3 II work in concert with other individuals and to do so by utilizing cellular telephones. Because
 4 II they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
 5 II out various tasks related to their trafficking activities, including, e.g., remotely monitoring
 6 II the progress of their contraband while it is in transit, providing instructions to drug couriers,
 7 II warning accomplices about law enforcement activity, and communicating with co-
 8 II conspirators who are transporting narcotics and/or proceeds from narcotics sales.
 9         8.      Based upon my training, experience, and consultations with law enforcement
10 II officers experienced in narcotics trafficking investigations, and all the facts and opinions
11 II set forth in this affidavit, I have learned that cellular telephones (including their Subscriber
12 II Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
13 II for example, phone logs and contacts, voice and text communications, and data, such as
14 II emails, text messages, chats and chat logs from various third-party applications,
15 II photographs, audio files, videos, and location data. In particular, in my experience and
16 II consultation with law enforcement officers experienced in narcotics trafficking
17 II investigations, I am aware that individuals engaged in drug trafficking commonly store
18 II photos and videos on their cell phones that reflect or show co-conspirators and associates
19 II engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
20 and assets from drug trafficking, and communications to and from recruiters and
21   organizers.
22         9.      This information can be stored within disks, memory cards, deleted data,
23 II remnant data, slack space, and temporary or permanent files contained on or in the cellular
2411 telephone. Specifically, searches of cellular telephones may yield evidence:
25
           a.      tending to indicate efforts to import methamphetamine, heroin, or some
26                 other federally controlled substance, from Mexico into the United States;
27
           b.      tending to identify accounts, facilities, storage devices, and/or services-
28                 such as email addresses, IP addresses, and phone numbers-used to

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            Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.5 Page 5 of 8



                          facilitate the importation of methamphetamine, heroin, or some other
 1
                          federally controlled substance, from Mexico into the United States;
 2
               C.         tending to identify co-conspirators, criminal associates, or others involved
 3
                          in importation of methamphetamine, heroin, or some other federally
 4                        controlled substance, from Mexico into the United States;
 5
               d.         tending to identify travel to or presence at locations involved in the
 6                        importation of methamphetamine, heroin, or some other federally
                          controlled substance, from Mexico into the United States, such as stash
 7
                          houses, load houses, or delivery points;
 8
               e.         tending to identify the user of, or persons with control over or access to,
 9
                          the Target Device; and/or
10
11             f.         tending to place in context, identify the creator or recipient of, or establish
                          the time of creation or receipt of communications, records, or data involved
12                        in the activities described above.
13
                                   FACTS SUPPORTING PROBABLE CAUSE
14
                10.       On September 30, 2019, at approximately 7:00 a.m., BRAMBILA was in line
15   11
          to apply for permission to enter the United States at the Otay Mesa Port of Entry.
16
    II BRAMBILA was the driver and sole occupant of a 2004 Acura MDX. At that time, a CBP
l 7 II Canine Enforcement Officer (CEO) and his Narcotics and Human Detection Dog (NHDD)
1811 were conducting pre-primary roving inspections, and the CBP CEO saw the NHDD alert
 9
l II to the exterior of BRAMBILA's vehicle. Following the alert, the CBP CEO directed
20   11
      BRAMBILA to pull forward to the primary inspection booth.
21
             11. At the primary inspection booth, BRAMBILA presented the CBPO with her
22   11
      identification documents and stated that her destination was Porterville, California.
23
   II BRAMBILA told the CBPO that she had been visiting her boyfriend in Tijuana, Mexico,
24
   II and that she had owned the vehicle for approximately one month. The CBPO received two
25
   II negative declarations from BRAMBILA, and then conducted an inspection of the vehicle
26
      with the CBP CEO and his NHDD. The NHDD alerted to the area between the second and
27
      third row seats and the area around the sending unit. The CBPO then sent BRAMBILA to
28 ,,          d      .        .
          secon ary mspect10n.
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        Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.6 Page 6 of 8




 1 II       12.    In secondary inspection, a government-contracted towing company removed
 2 II the gas tank and discovered twenty-seven packages concealed inside. Twenty four of those
 3 II packages weighed approximately 24.52 kilograms and field-tested positive for
 411 methamphetamine. Three of those packages weighed 3.18 kilograms and field-tested
 5 II positive for heroin.
 611        13.    Later, agents read BRAMBILA her Miranda rights, and she agreed to speak
 7 II to agents without an attorney present. BRAMBILA initially denied any knowledge of the
 8 II drugs in her vehicle but admitted knowledge of something illegal being placed into the
 911 vehicle's gas tank. BRAMBILA admitted she was to be paid $1,800 dollars to smuggle
10 II unknown contraband into the United States. During the interview, BRAMBILA identified
11 II the Target Device as belonging to her.
1211        14.    In light of the above facts, BRAMBILA's statements, and my own experience
13 II and training, there is probable cause to believe that BRAMBILA was using the Target
1411 Device to communicate with others to further the importation of illicit narcotics into the
15 United States.
16          15.    In my training and experience, narcotics traffickers may be involved in the
17 II planning and coordination of a drug smuggling event in the days and weeks prior to an
18 II event. Co-conspirators are also often unaware of a defendant's arrest and will continue to
19 II attempt to communicate with a defendant after their arrest to determine the whereabouts of
20 II the narcotics. Based on my training and experience, it is also not unusual for individuals,
21 II such as BRAMBILA, to attempt to minimize the amount of time they were involved in
22 II their smuggling activities, and for the individuals to be involved for weeks and months
23 II longer than they claim. Accordingly, I request permission to search the Target Device for
2411 data beginning on July 30, 2019, up to and including September 30, 2019, which was the
25 II day ofBRAMBILA's arrest.
26 II                                   METHODOLOGY
27          16.    It is not possible to determine, merely by knowing the cellular telephone's
28 II make, model and serial number, the nature and types of services to which the device is

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          Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.7 Page 7 of 8




 1 II subscribed and the nature of the data stored on the device. Cellular devices today can be
 2 II simple cellular telephones and text message devices, can include cameras, can serve as
 3 II personal digital assistants and have functions such as calendars and full address books and
 411 can be mini-computers allowing for electronic mail services, web services and rudimentary
 5 II word processing. An increasing number of cellular service providers now allow for their
 6 II subscribers to access their device over the internet and remotely destroy all of the data
 7 II contained on the device. For that reason, the device may only be powered in a secure
 8 II environment or, if possible, started in "flight mode" which disables access to the network.
 9 II Unlike typical computers, many cellular telephones do not have hard drives or hard drive
10 II equivalents and store information in volatile memory within the device or in memory cards
11 II inserted into the device. Current technology provides some solutions for acquiring some of
12 II the data stored in some cellular telephone models using forensic hardware and software.
13 II Even if some of the stored information on the device may be acquired forensically, not all
14 II of the data subject to seizure may be so acquired. For devices that are not subject to forensic
15 II data acquisition or that have potentially relevant data stored that is not subject to such
16 II acquisition, the examiner must inspect the device manually and record the process and the
17 II results using digital photography. This process is time and labor intensive and may take
18 II weeks or longer.
19 II        17.   Following the issuance of this warrant, I will collect the subject cellular
20 II telephone and subject it to analysis. All forensic analysis of the data contained within the
21 II telephone and its memory cards will employ search protocols directed exclusively to the
22 II identification and extraction of data within the scope of this warrant.
23 II        18.   Based on the foregoing, identifying and extracting data subject to seizure
24 II pursuant to this warrant may require a range of data analysis techniques, including manual
25 II review, and, consequently, may take weeks or months. The personnel conducting the
26 II identification and extraction of data will complete the analysis within 90 days, absent
27 II further application to this court.
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        Case 3:19-mj-05155-BGS Document 1 Filed 11/20/19 PageID.8 Page 8 of 8




 1                       PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 2           19.   At the time of BRAMBILA' s entry into the United States, law enforcement
 3 II officers conducted a manual review of the Target Device with the written consent and in
 411 the presence of BRAMBILA. I have not included any information obtained from that
 5 II manual review in this affidavit and submit that probable cause exists to search the Target
 6 II Device without that information.
 7                                               CONCLUSION
 8          20.    Based on the facts and information set forth above, there is probable cause to
 9 II believe that a search of the Target Device will yield evidence ofBRAMBILA's violations
10 II of Title 21, United States Code, Sections 952 and 960.
11          21.    Because the Target Device was seized at the time of BRAMBILA' s arrest
12 II and has been securely stored since that time, there is probable cause to believe that such
13 II evidence continues to exist on the Target Device. As stated above, I believe that the
14 II appropriate date range for this search is from July 30, 2019, up to and including September
15 1130, 2019.
16          22.    Accordingly, I request that the Court issue a warrant authorizing law
17 II enforcement to search the item(s) described in Attachment A and seize the items listed in
18 II Attachment B using the above-described methodology.
19
20 II I swear the foregoing is true and correct to the best of my knowledge and belief.
21
22                                       <e::::::::    ~~
                                                      Zachary Bulman
23
                                                      HSI Special Agent
24
25
     II Subscribed and sworn to before me this ~               day ofNovember, 2019.

26
27     ~
      Hon. Bernard G. Skomal
28 II United States Magistrate Judge

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